             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     BRYSON CITY DIVISION

                         CIVIL NO. 2:08CV15-T-02
                             (2:00CR18-02-T)


EDDIE DEWAYNE CARRINGER,        )
                                )
               Petitioner,      )
                                )
         vs.                    )                MEMORANDUM AND
                                )                ORDER OF DISMISSAL
UNITED STATES OF AMERICA,       )
                                )
             Respondent.        )
_______________________________ )


      THIS MATTER is before the Court on Petitioner’s motion to vacate,

set aside, or correct sentence pursuant to 28 U.S.C. § 2255, filed June 2,

2008. No response is necessary from the Government.

      A prisoner in federal custody may attack his conviction and sentence

on the grounds that it is in violation of the Constitution or United States law,

was imposed without jurisdiction, exceeds the maximum penalty , or is

otherwise subject to collateral attack. 28 U.S.C. § 2255. However,

      [i]f it plainly appears from the face of the motion and any
      annexed exhibits and the prior proceedings in the case that the
      movant is not entitled to relief in the district court, the judge
      shall make an order for its summary dismissal and cause the
      movant to be notified.


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Rule 4, Rules Governing Section 2255 Proceedings for the United

States District Courts. The Court, having reviewed the record of criminal

proceedings, enters summary dismissal for the reasons stated herein.



                        I. PROCEDURAL HISTORY

      Petitioner and a co-Defendant were charged with attempting to

murder a Special Agent of the Federal Bureau of Investigation and aiding

and abetting, in violation of 18 U.S.C. §§ 1114 and 2 (Count One); firing a

semi-automatic rifle into the occupied Southeast Bomb Task Force

command post and aiding and abetting, in violation of 18 U.S.C. §§ 111

and 2 (Count Two); discharging a firearm during and in relation to a crime

of violence and aiding and abetting, in violation of 18 U.S.C. §§

924(c)(1)(A)(iii) and 2 (Count Three); conspiring to discharge a weapon

during and in relation to a crime of violence in violation of 18 U.S.C. §

924(o) (Count Four); and attempting to destroy the Southeast Bomb Task

Force command post and endangering the lives of its occupants and aiding

and abetting, in violation of 18 U.S.C. §§ 1363 , 7(3) and 2 (Count Five).

Bill of Indictment, filed March 6, 2000.




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       Petitioner entered into a written plea agreement with the Government

whereby he agreed to plead guilty to the charges set forth in Counts Two

and Three of the indictment in exchange for dismissal of the remaining

charges by the Government. Plea Agreement, filed June 6, 2000. The

agreement also contained a waiver by which Petitioner forfeited his right to

contest his conviction or sentence in any proceeding, except on the

grounds of ineffective assistance of counsel or prosecutorial misconduct.

Id.

       On June 7, 2000, Petitioner appeared with counsel before the Magi-

strate Judge and formally entered his guilty pleas. The Magistrate Judge

engaged Petitioner in the standard, lengthy plea colloquy pursuant to Rule

11 to ensure that his guilty pleas were knowingly and voluntarily made and

entered. Rule 11 Inquiry and Order of Acceptance of Plea, filed June

7, 2000.

       At the outset of that proceeding, the Magistrate Judge asked

Petitioner if he then was under the influence of any medicines or drugs of

any kind, if he was under the care of a doctor or ever had been treated for

mental illness or substance abuse. Id. at 2. Contrary to his current

assertions, Petitioner then stated, under oath, that although he was taking



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medication for his “nerves,” his mind was clear and he understood the

proceedings. Id. at 2-3. Petitioner further stated that he was not under the

care of a doctor and had never been treated for mental illness or

substance abuse. Id. The Magistrate Judge also asked Petitioner if he

had reviewed his indictment and understood the charges and correspond-

ing penalties as they then were explained to him. Id. at 3-4. Again, under

oath, Petitioner stated that he had reviewed the charges with counsel and

understood the offenses, the essential elements of each offense, and the

maximum penalties of each offense. Id. Further, the Magistrate Judge

asked Petitioner if he understood and accepted the terms of his plea

agreement and if he was satisfied with the services of his attorney, and

Petitioner answered in the affirmative. Id. at 6-7. Based on these and the

other answers given by Petitioner, the Magistrate Judge found that his

guilty pleas were knowingly and voluntarily made and that he understood

the charges, penalties, and consequences of the pleas. Id. at 9.

Accordingly, the Magistrate Judge accepted Petitioner’s pleas. Id.

     On June 6, 2001, the undersigned conducted a factual basis and

sentencing hearing. The Court adopted the factual findings and guideline

applications made by the Probation Officer that Petitioner was a career



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offender, his offense level was 24, his criminal history category was VI, and

his resulting sentencing range was 100 to 125 months imprisonment for

Count Two. After hearing from the parties, the Court sentenced Petitioner

to 100 months on Count Two and to a consecutive mandatory minimum

term of 10 years imprisonment on Count Three, for a total of 220 months

imprisonment. Judgment in a Criminal Case, filed July 6, 2001.

      Petitioner did not appeal his conviction or sentence; therefore, his

Judgment became final 10 days after entry thereof. See Fed. R. App. P.

4(b)(3)(A). Now, after a lapse of nearly seven years, Petitioner has

returned to this Court with a motion to vacate. However, it is clear from the

record that Petitioner’s motion is untimely.



                          II. STANDARD OF REVIEW

      Title 28 U.S.C. § 2255 provides in pertinent part:

      A 1-year period of limitation applies to a motion under this
      section. The limitation period shall run from the latest of–

               (1) the date on which the judgment of conviction becomes
      final;

            (2) the date on which the impediment to making a motion
      created by governmental action in violation of the Constitution
      or laws of the United States is removed, if the movant was
      prevented from making a motion by such governmental action;


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            (3) the date on which the right asserted was initially
      recognized by the Supreme Court, if that right has been newly
      recognized by the Supreme Court and made retroactively
      applicable to cases on collateral review; or

           (4) the date on which the facts supporting the claim or
      claims presented could have been discovered through the
      exercise of due diligence.

28 U.S.C. § 2255.

                              III. DISCUSSION

      As was previously noted, Petitioner’s Judgment was filed on July 6,

2001, he did not appeal his conviction or sentence; therefore, Petitioner’s

Judgment became final on July 20, 2001. See Fed. R. App. P. 4(b)

(providing 10-day appeal period for criminal judgments); United

States v. Wilson, 256 F.3d 217, 221 (4th Cir. 2001) (noting that pursuant

to Rule 4(b), an unappealed judgment becomes final ten days after its

entry.). Because Petitioner did not file his § 2255 motion until June 2,

2008, it was filed well outside the one-year statute of limitations period and

is, therefore, untimely.

      Although Petitioner has attempted to offer an explanation and asks

this Court to equitably toll the nearly seven years which elapsed following

entry of his Judgment, he has failed to establish that his motion should be

construed as timely filed. Indeed, Petitioner asks the Court to excuse or


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equitably toll his delay because at the time of his prosecution and an un-

specified period thereafter, he reportedly suffered from the effects of

alcohol and drug addictions and “only [] recently learn[ed]” that he was not

a career offender. However, this vague and otherwise unsubstantiated

assertion is belied by the record and is far from sufficient to render his

motion timely filed.

      Notwithstanding that he submitted a 40-page memorandum in

support of his motion to vacate, Petitioner did not mention the existence of

any medical records to support his claim that he has suffered from

addictions which rendered him “so mentally incompetent that he could not

manage his own affairs and was completely unable to understand his legal

rights and act on them” during the relevant period. See Memorandum of

Law and Facts in Support of Petitioner’s Section 2255 Motion, filed

June 2, 2008, at 24. Moreover, even if Petitioner could establish those

facts, these assertions are not ones which would entitle him to equitable

tolling. To put it simply, even if proved, Petitioner’s evidence would, at

best, tend to establish that it was his drug and alcohol addictions -- and not

any circumstances external to his own conduct – which precluded him

from timely filing his motion to vacate. See, e.g., Harris v. Hutchinson,



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209 F.3d 325, 330 (4th Cir. 2000) (noting that equitable tolling generally

is available only where petitioner was prevented from asserting

claims by wrongful conduct of the Government, or where

extraordinary circumstances beyond petitioner’s control made it

impossible to file claims in timely manner); United States v. Sosa, 364

F.3d 507, 511-13 (4th Cir. 2004) (discussing the requirements for

equitable tolling.) .

      In sum, Petitioner has failed to show that his motion to vacate was

timely filed or that his multi-year delay should be equitably tolled; therefore,

his motion must be dismissed. See United States v. Hardy, 156 F.

App’x 568 (4th Cir. 2005) (affirming dismissal of time-barred § 2255

motion).



                                 IV. ORDER

      IT IS, THEREFORE, ORDERED that Petitioner’s motion to vacate,

set aside, or correct judgment pursuant to 28 U.S.C. § 2255 is hereby




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DISMISSED WITH PREJUDICE as untimely.



                                  Signed: June 23, 2008




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